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Matthew T. Christensen, ISB: 7213
ANGSTMAN JOHNSON
199 N. Capitol Blvd., Ste 200
Boise, ID 83702
Phone: (208) 384-8588
Fax: (208) 629-2157
Email: mtc@angstman.com

Attorney for Debtor

                          UNITED STATES BANKRUPTCY COURT

                                     DISTRICT OF IDAHO

In re:                                            Case No. 20-40042-JMM

PAULA LYNNE ZIEGLER,                              Chapter 7

                Debtor.



                               MOTION TO SHORTEN TIME



         The Debtor Paula Ziegler, by and through her counsel of record, Angstman Johnson,

hereby moves the court for an order shortening the required time for notice of the hearing on her

Motion to Convert (Docket No. 56 - the “Motion”), and her Application to Employ (Docket

No. 57 - the “Application”) such that a hearing may be held on the Motion and Application on

Monday, April 27, 2020 at 1:30 p.m. This will be a telephonic hearing.

         Due to the pending public health crisis caused by the COVID-19 virus (aka coronavirus),

the Court only has limited hearing availability. During the next few weeks, the court’s next

available hearing date is April 27, 2020. The Chapter 7 Trustee has been actively pursuing both

turnover of Debtor assets, as well as recovery of additional claims and sums. Because of this

ongoing activity by the Chapter 7 Trustee, and the likelihood of conversion, the Debtor seeks to

avoid additional Chapter 7 administrative claims by resolving the issues as expeditiously as



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possible. Due to the nature of the requests in the Motion and Application, the Debtor does not

anticipate significant objection to the Motion or Application. The Motion and Application

normally would require notice of at least twenty-one days (see Rule 2002(a)) – this request would

shorten that time to fourteen days, approximately seven days less than required.

       Based on the foregoing, the Debtor requests the court allow shortened time for the notice

of hearing on the Motion and Application.



       DATED this 13th day of April, 2020.

                                                    /s/ Matt Christensen
                                             Matthew T. Christensen
                                             Attorney for Debtor




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                                   CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on this 13th day of April, 2020, I filed the foregoing NOTICE
OF HEARING electronically through the CM/ECF system, which caused the following parties to
be served by electronic means, as more fully reflected on the Notice of Electronic Filing:

      Ryan E. Farnsworth                          ryan@averylaw.net
      R. Sam Hopkins                              AWilliams32@cableone.net
      Allen H. Ickowitz                           aickowitz@nossaman.com
      R. Ron Kerl                                 Ron@cooper-larsen.com
      Thomas Daniel Smith                         tsmith8206@cableone.net
      U.S. Trustee                                ustp.region18.bs.ecf@usdoj.gov


      Any others as listed on the Court’s ECF Notice.




                                                   /s/ Matt Christensen
                                             Matthew T. Christensen




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